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EXHIBIT 20
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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

NATIONWIDE LIFE INSURANCE COMPANY,
a foreign corporation,

Plaintiff,

VS. Case No. 11-cv-12422-AC-MKM
Hon. Avern Cohn

WILLIAM KEENE, JENNIFER KEENE,

MONICA LYNNE LUPILOFF, NICOLE RENEE

LUPILOFF and NICOLE RENEE LUPILOFF,

PERSONAL REPRESENTATIVE OF THE ESTATE

OF GARY LUPILOFF, DECEASED,

Defendants.
/
Michael F. Schmidt P25213 Albert L. Holtz P15088
Attorneys for Plaintiff Attorney for Monica Lupiloff, Nicole Lupiloff
1050 Wilshire Drive, Suite 320 and Nicole Lupiloff, Per Rep of the Estate of
Troy, MI 48084 Gary Lupiloff, Deceased
(248)649-7800 3910 Telegraph Road, Suite 200

Bloomfield Hills, MI 48302
(248)593-5000

John H. Bredell P36577

Attorney for William & Jennifer Keene
119 N. Huron Street

Ypsilanti, MI 48197

(734)482-5000

DEFENDANT WILLIAM KEENE SUPPLEMENTAL
ANSWERS TO INTERROGATORIES
AND REQUESTS TO PRODUCE
FROM PLAINTIFF NATIONWIDE LIFE INSURANCE COMPANY

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DEFENDANT WILLIAM KEENE SUPPLEMENTAL
ANSWERS TO INTERROGATORIES

AND REQUESTS TO PRODUCE
FROM PLAINTIFF NATIONWIDE LIFE INSURANCE COMPANY

NOW COMES the Defendant, WILLIAM KEENE, by and through his attorneys,
BREDELL & BREDELL, and submits the following supplemental answers to
Interrogatories/Requests to Produce from Defendant, NATIONWIDE LIFE INSURANCE
COMPANY, through its attorney, MICHAEL F. SCHMIDT:

2. In regard to the purpose of the Nationwide policy as indicated on the New
Account/Suitability Form “to provide coverage over an investor loan for capital purchase” please
state with factual precision:

a. ‘Please state how the policy was to provide coverage over an investor loan
for capital purchase.

ANSWER: a. The Capital Loan was for $130,000 and was to cover the $245,000 that was to
be paid by Mad Advertising. William Keen loaned $130,000 to Gary Lupiloff,
which Lupiloff received as Mad advertising. Lupiloff originally agreed to repay
the loan, but when he failed to do so, Keene offered to purchase the life
insurance policy that is at issue.

6. Ifyou paid any premiums for the Nationwide policy referred to in the complaint, please
state the dates of all payments and the amount paid on each date, and please produce proof of all
such payments.

ANSWER: Mr. Keene began paying bills from Nationwide for the subject insurance policy and
Mr. Keene assumes that Nationwide has possession and control of these documents. Attached are
forms titled “Life Billing Statement” that reflect payments made by Mr. Keene. Mr. Keene
does have several of these documents in his possession which are attached here that set forth the date
and amounts of said payments. In addition, all of the payments that Nationwide records indicate
were made by Mr. Keene took place after the change of ownership when the policy was placed in the
name of Mr. Keene. It is Mr. Keene’s memory that he made two (2), possibly more payments on the
policy directly while the policy was still in Mr. Lupiloff’s name. Mr. Keene is checking his bank
records to try to locate these payments that he made directly to Nationwide on behalf of Mr. Lupiloff.
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Signature page:

DEFENDANT WILLIAM KEENE SUPPLEMENTAL ANSWERS TO
INTERROGATORIES AND REQUESTS TO PRODUCE
FROM PLAINTIFF NATIONWIDE LIFE INSURANCE COMPANY

Respectfully submitted,

Dated: (yc o i ZL, bo =e

H. Bredell (P36577)
ynn Marie Bredell (P36778)
Attorney for Plaintiff

Signed:
William Keene

CERTIFICATE OF SERVICE
The undersigned certifies that the foregoing instrument was served
upon all parties to the above cause to each of the attomeys of record
herein at their respective addresses disclosed on the pleadings on
2011, by U. S. mail.

Gail A. Stephens

Signature;
